Case 3:18-cv-00966-SMY Document 274 Filed 09/19/22 Page 1 of 3 Page ID #5037




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                 EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
            Plaintiff,                 )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )                Case No. 3:18-cv-966-SMY
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA INC.,  )
                                       )
                                       )
            Defendants.                )

    DEFENDANTS’ NOTICE OF CORRECTED OBJECTIONS AND RESPONSES TO
     PLAINTIFF’S SECOND AMENDED RULE 26(a)(3) PRETRIAL DISCLOSURES

        Defendants Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports, Inc., Visual

 Concepts Entertainment, and World Wrestling Entertainment, Inc. (collectively, “Defendants”)

 hereby submit the following corrected objections and responses to Plaintiff’s Second Amended

 Pretrial Disclosures. Dkt. 264 (“Pl.’s 26(a)(3) Discl.”). Defendants objections, filed on

 September 9, 2002 at Dkt. 269, inadvertently referenced an earlier version of Plaintiff’s pretrial

 disclosures on a single page regarding Plaintiff’s Trial Exhibits (“PTX”) 37, 38 and 39.

 Attached here to as Exhibit A is a corrected copy of this page, with Exhibit B showing a redline

 of these corrections.
Case 3:18-cv-00966-SMY Document 274 Filed 09/19/22 Page 2 of 3 Page ID #5038



Dated: September 19, 2022        Respectfully submitted,

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Case 3:18-cv-00966-SMY Document 274 Filed 09/19/22 Page 3 of 3 Page ID #5039




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            Plaintiff,                 )
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TAKE-TWO INTERACTIVE SOFTWARE, INC., )
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WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA, INC., )
                                       )
                                       )
            Defendants.                )

                             CERTIFICATE OF SERVICE

      I hereby certify that on September 19, 2022, I electronically filed the foregoing
 DEFENDANTS’ NOTICE OF CORRECTED OBJECTIONS TO PLAINTIFF’S SECOND
 AMENDED RULE 26(a)(3) PRETRIAL DISCLOSURES with the Clerk of the Court using the
 CM/ECF system, which will send notification of such filing to the following:
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